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 6
   Attorneys for Plaintiff
 7 United States of America
 8
 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                            CASE NO. 2:16-CR-0239 MCE
12
                                   Plaintiff,             STIPULATION REGARDING EXCLUDABLE
13                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
                             v.                           ORDER
14
     JOHN BREWER,                                         DATE: April 6, 2017
15   BRENT VINCH, and                                     TIME: 10:00 a.m.
     LORAINE DIXON                                        COURT: Hon. Morrison C. England, Jr.
16
                                   Defendants.
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18
                                                  STIPULATION
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            1.       By previous order, this matter was set for status on February 16, 2017.
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            2.       By this stipulation, defendants now move to continue the status conference until April 6,
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     2017, and to exclude time between February 16, 2017, and April 6, 2017, under Local Code T4.
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            3.       The parties agree and stipulate, and request that the Court find the following:
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                     a)     The government has represented that the discovery associated with this case
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            includes business records and documents, including emails, audio recording of interviews, and
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            government records. To date, the government has produced discovery on hard drives to the
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            defense wherein the digital evidence is comprised of over 100,000 separate images. The
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            government is continuing to produce discovery, to the defense.
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                     b)     Counsel for defendants desire additional time review the discovery produced by
      STIPULATION RE: SPEEDY TRIAL ACT; ORDER             1
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 1        the government, conduct additional investigation, and discuss the case with their respective

 2        clients.

 3                   c)   Counsel for defendants believe that failure to grant the above-requested

 4        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 5        into account the exercise of due diligence.

 6                   d)   The government does not object to the continuance.

 7                   e)   Based on the above-stated findings, the ends of justice served by continuing the

 8        case as requested outweigh the interest of the public and the defendant in a trial within the

 9        original date prescribed by the Speedy Trial Act.

10                   f)   For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

11        et seq., within which trial must commence, the time period of February 16, 2017 to April 6,

12        2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

13        T4] because it results from a continuance granted by the Court at defendants’ request on the basis

14        of the Court’s finding that the ends of justice served by taking such action outweigh the best

15        interest of the public and the defendant in a speedy trial.

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     STIPULATION RE: SPEEDY TRIAL ACT; ORDER            2
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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

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     Dated: February 13, 2017                                  PHILLIP A. TALBERT
 6                                                             United States Attorney
 7
                                                               /s/ JARED C. DOLAN
 8                                                             JARED C. DOLAN
                                                               Assistant United States Attorney
 9

10
     Dated: February 13, 2017                                  /s/ MICHAEL
11                                                             SCARBOROUGH
                                                               MICHAEL SCARBOROUGH
12
                                                               Counsel for Defendant
13                                                             JOHN BREWER

14
     Dated: February 13, 2017                                  /s/ NANCI CLARENCE
15                                                             NANCI CLARENCE
                                                               Counsel for Defendant
16                                                             BRENT VINCH
17
18 Dated: February 13, 2017                                    /s/ DONALD HELLER
                                                               DONALD HELLER
19                                                             Counsel for Defendant
                                                               LORAINE DIXON
20
21
                                                       ORDER
22
            IT IS SO ORDERED.
23
     Dated: February 16, 2017
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              3
